                      Case 20-20111                    Doc 8         Filed 03/19/20 Entered 03/19/20 20:01:04                                      Desc Main
                                                                        Document    Page 1 of 3

 Fill in this information to identify the case:
 Debtor name Mountain States Rosen LLC
 United States Bankruptcy Court for the: DISTRICT OF WYOMING                                                                                          Check if this is an

 Case number (if known):                20-20111                                                                                                      amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 UFCW LOCAL 174                                                                                                                                                       $2,523,626.51
 PENSION FUND
 c/o I E SHAFFER &
 CO.
 830 BEAR TAVERN
 ROAD
 P.O. BOX 1028
 WEST TRENTON, NJ
 08628
 FORMULA 1 FEEDS                                                                                                                                                        $720,568.22
 INC
 4401 WYALUSING
 NEW ALBANY RD
 NEW ALBANY, PA
 18833
 RELIABLE                                                                                                                                                               $267,670.00
 TRANSPORTATION
 SOLUTIONS
 P.O. BOX 507
 AMELIA, OH 45102
 Weld County                                                                                                                                                            $148,904.35
 Treasurer
 1400 N 17th Ave
 GREELEY, CO
 80632
 JBS USA FOOD                                                                                                                                                           $133,792.58
 COMPANY
 1770 PROMONTORY
 CIRCLE
 P.O. BOX 336910
 GREELEY, CO
 80633
 CRYOVAC, INC                                                                                                                                                           $117,496.05
 26081 NETWORK
 PLACE
 CHICAGO, IL
 60673-1260


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                      Case 20-20111                    Doc 8         Filed 03/19/20 Entered 03/19/20 20:01:04                                      Desc Main
                                                                        Document    Page 2 of 3


 Debtor    Mountain States Rosen LLC                                                                          Case number (if known)         20-20111
           Name

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                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 CATELLI                                                                                                                                                                $113,315.00
 BROTHERS
 P.O. BOX 8877
 COLLINGSWOO, NJ
 08108
 INTERNATIONAL                                                                                                                                                            $96,721.09
 PAPER
 P.O. BOX 676565
 DALLAS, TX
 75267-6565
 COLORADO                                                                                                                                                                 $74,555.31
 ATLANTIC
 EXPRESS, LLC
 6600 SMITH ROAD
 DENVER, CO 80207
 REPUBLIC                                                                                                                                                                 $52,025.74
 SERVICES #535
 PO BOX 78829
 PHOENIX, AZ 85062
 PACKERS                                                                                                                                                                  $45,934.00
 SANITATION
 SERVICES
 PO BOX 931397
 Cleveland, OH 44193
 XCEL ENERGY                                                                                                                                                              $45,888.43
 P O BOX9477
 MPLS, MN
 55484-9477
 BROWN LINE, LLC                                                                                                                                                          $38,717.63
 P.O. BOX 34026
 SEATTLE, WA
 98124-1026
 QVEST, LLC                                                                                                                                                               $37,318.05
 P.O. BOX 436
 GUYMON, OK 73942
 MIDWEST FREIGHT                                                                                                                                                          $36,551.27
 SERVICES
 5140 RACE CT. UNIT
 #4
 DENVER, CO 80216
 MPSC INC                                                                                                                                                                 $33,505.30
 2701 HARVEY ST
 HUDSON, WI 54016
 FARM CREDIT                                                                                                                                                              $33,274.76
 LEASING SERVICES
 CORP
 NW-9675
 PO BOX 1450
 MINNEAPOLIS, MN
 55485




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                      Case 20-20111                    Doc 8         Filed 03/19/20 Entered 03/19/20 20:01:04                                      Desc Main
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 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 ALL-TEMP                                                                                                                                                                 $33,079.17
 LOGISTICS INC
 P.O BOX 69
 PARLIN, NJ 08859
 AgTac Services,                                                                                                                                                          $32,022.16
 LLC
 8200 Cody Drive,
 Suite F
 Lincoln, NE 68512
 DENNEY                                                                                                                                                                   $31,051.55
 TRANSPORT LTD.
 5000 E 74TH AVE
 COMMERCE CITY,
 CO 80022




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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